EXHIBIT A-1
                                                                            3/13/2015 3:52:14 PM
                                                                                                 Velva L. Price
                                                                                                District Clerk
                                                                                                Travis County
                        CAUSE NO. D-1-GN-15-001018                                           D-1-GN-15-001 018


ERIC WITHERSPOON and                            §                  IN THE DISTRICT COURT OF
ALICE WITHERSPOON                               §
      Plaintiffs,                               §
                                                §
   vs.                                          §
                                                                       TRAVIS COUNTY, TEXAS
                                                §
FERNANDO ALVAREZ, MINDI                         §
PELLETIER and BOSSYTOE                          §
PRODUCTIONS, LLC                                §
                                                                    53 RD     JUDICIAL DISTRICT
     Defendant.                                 §



    PLAINTIFFS' ORIGINAL PETITION AND INITIAL DISCOVERY REQUESTS



TO THE HONORABLE JUDGE OF SAID COURT:

         COME NOW, ERIC WITHERSPOON and ALICE WITHERSPOON, who hereby

complain of FERNANDO ALVAREZ, MINDI PELLETIER and BOSSYTOE PRODUCTIONS,

LLC, and for this cause of action would respectfully show the Court as follows:

                              I. DISCOVERY CONTROL PLAN

         Plaintiffs intend to conduct discovery under Level Two (2), pursuant to Texas Rule of

Civil Procedure 190.3. This suit is not governed by the expedited-actions process in TRCP 169

because Plaintiffs seek monetary relief over $1 ,000,000.

                                   II. PARTIES & SERVICE

         Plaintiff ERIC WITHERSPOON is a resident of Deptford Township, New Jersey.

         Plaintiff ALICE WITHERSPOON is a resident of Deptford Township, New Jersey.

         Defendant FERNANDO ALVAREZ ("Alvarez") is, upon information and belief, an

individual residing at 21316 Dalton Avenue, Torrance, California 90501, and may be served

there. Plaintiff is requesting citation only and will arrange for private process service.



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                  PLAINTIFFS" ORIGINAL PETITION AND INITIAL DISCOVERY REQUESTS
       Defendant MIND! PELLETIER ("Pelletier") is, upon information and belief, an

individual residing at 6931 SE 48th Avenue, Portland, Oregon 97206, and may be served there.

Plaintiff is requesting citation only and will arrange for private process service.

       Defendant BOSSYTOE PRODUCTIONS, LLC ("Bossytoe") is, upon information and

belief, a corporation duly organized and lawfully doing business in the State of California, and

may be served with process by and through its registered agent Beth Sabbagh at 16000 Ventura

Blvd., Ste. 600, Encino, CA 91436. Plaintiff is requesting citation only. and will arrange for

private process service at this address.

                                lll. JURISDICTION & VENUE

       This Court has jurisdiction over the lawsuit because the amount in controversy exceeds

the Court's minimum jurisdictional requirements.

       This Court has jurisdiction over Alvarez, a nonresident, because he purposefully availed

himself of the privileges and benefits of conducting activities in Texas by operating a motor

vehicle in Texas that was involved in a collision or accident. The facts of said accident are set

forth below.

        This Court has jurisdiction over Pelletier, a nonresident, because she purposefully availed

herself of the privileges and benefits of conducting activities in Texas by committing a tort,

which is the subject of this suit, in whole or in part in Texas. Pelletier negligently entrusted a

vehicle to Defendant Alvarez, who was then involved in an automobile accident.

        This Court has jurisdiction over Bossytoe, a nonresident, because it purposefully availed

itself of the privileges and benefits of conducting activities in Texas by directing its employees

or agents to conduct business in Texas. The employees' or agents' conduct directly led to the

subject automobile accident.




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                  PLAINTIFFS' ORIGINAL PETITION AND INlTIAL DISCOVERY REQUESTS
       Pursuant to Texas Civil Practice & Remedies Code§ 15.002(a)(l), venue is proper in this

Court because the incident made the basis of this lawsuit occurred in Travis County.

                                IV. FACTUAL BACKGROUND

       On or about March 15, 2013, during South by Southwest, Plaintiff Eric Witherspoon was

a pedestrian walking westbound on the southern sidewalk of East 6th Street, near the intersection

of Congress Avenue, in Austin, Texas. Defendant Alvarez was driving a rented Chevy Suburban

northbound on Congress Avenue. Alvarez stopped for a red light at the intersection with 6th

Street. Thereafter, Alvarez started to maneuver his vehicle in an aggressive manner as Eric

Witherspoon was crossing the street. At all relevant times, Eric Witherspoon was lawfully and

prudently using the designated crosswalk. Alvarez then accelerated his vehicle and struck

Plaintiff, knocking him to the ground, and causing serious bodily injuries.

       Immediately after impact, Alvarez fled the scene in his vehicle. After driving

approximately one block, Alvarez parked the vehicle, got out, and left the scene on foot.

Witnesses to the accident observed that Alvarez had bloodshot eyes and he stumbled as he began

walking away from the vehicle.

       Defendant Pelletier was the person who rented the Chevy Suburban that Alvarez was

driving at the time of the accident. At all relevant times, Pelletier exercised control over the

subject vehicle. Prior to the accident, Pelletier allowed Alvarez to operate the vehicle.

       Defendant Bossytoe is a music production company. On information and belief, Bossytoe

employed or otherwise engaged Defendants Alvarez and Pelletier to conduct business in Austin

on the date of the subject accident.

       As a result of the actions and inactions of Defendants, Eric Witherspoon and his family

have been permanently damaged. Eric Witherspoon has sustained personal injuries, incurred

medical bills, suffered extreme physical pain and mental anguish, and is physically impaired.


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                  PLAINTIFFS' ORIGINAL PETITION AND INITIAL DISCOVERY REQUESTS
                                                                                        .,.




       At the time of the subject accident, Plaintiffs Eric Witherspoon and Alice Witherspoon

were married, and they continue to be married. Alice Witherspoon, who has stood shoulder to

shoulder with her husband in enduring this nightmare, has suffered incredible damages at the

hands of Defendants, including loss of affection, protection, emotional support, care, and society

from her husband. Further, as a result of the accident, Alice Witherspoon has suffered the loss of

household and domestic duties which typically had been performed by her husband.

                       V. NEGLIGENCE-DEFENDANT ALVAREZ

       At the time of the incident, Defendant Alvarez's above-described acts and omissions

constituted negligence, in one or more of the following respects:

       A.      He failed to yield right of way to a pedestrian;

       B.      He failed to keep a proper lookout;

       C.      He failed to stop and render aid;

       D.      He failed to timely apply his brakes;

       E.      He failed to take proper evasive action to avoid the collision;

       F.      He otherwise failed to operate his motor vehicle as a reasonable driver of ordinary
               prudence would have done in the same or similar circumstances.

                  VI. NEGLIGENCE PER SE- DEFENDANT ALVAREZ

       Defendant Alvarez's actions and inactions described above violated Texas Transportation

Code Section 552.002. Said statute requires the driver of a vehicle to yield to pedestrians in a

crosswalk.

       The statute is designed to protect a class of persons to which Plaintiff Eric Witherspoon

belongs, against the type of injuries he suffered. Further, the statute is of the type that imposes

tort liability. Defendant Alvarez's violation of the statute was without legal excuse. Alvarez's

breach of the duty imposed by the statute caused iqjuries to Plaintiff Eric Witherspoon, which

resulted in the damages suffered by both Eric Witherspoon and Alice Witherspoon.

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                 PLAINTIFFS' ORIGINAL PETITION AND INITIAL DISCOVERY REQUESTS
              VII. NEGLIGENT ENTRUSTMENT- DEFENDANT PELLETIER

          Pelletier rented the vehicle that struck and injured Eric Witherspoon. Pelletier exercised

control over the vehicle and entrusted it to Alvarez on the date of the subject accident. At the

time of the entrustment, Pelletier knew or should have known that Alvarez was intoxicated or

otherwise impaired. Indeed, immediately following the accident, witnesses observed that Alvarez

had bloodshot eyes, and the witnesses saw Alvarez stumble away from the vehicle as he fled on

foot. Pelletier could have reasonably anticipated that entrusting the vehicle to an intoxicated and

impaired driver would result in a foreseeably high risk of danger to the public at large. Defendant

Alvarez's negligence proximately caused the injuries to Eric Witherspoon. Said conduct led to

the damages suffered by both Eric Witherspoon and Alice Witherspoon.

                                 VIII. RESPONDEAT SUPERIOR

          At the time of the acts and/or omissions made the basis of this lawsuit, Defendants

Alvarez and Pelletier were acting within the course and scope of their employment with

Defendant Bossytoe, and in furtherance of its business. Thus, under the doctrine of respondeat

superior, Bossytoe is liable for the acts and/or omissions of Alvarez and Pelletier enumerated

herein.

          Alternatively, Defendants Alvarez and Pelletier were performing specific tasks as agents

for Bossytoe, and were subject to its control and direction. Thus, under the doctrine of agency,

Bossytoe was the principal and is liable for the acts and/or omissions of Alvarez and Pelletier

enumerated herein.




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                    PLAINTIFFS' ORIGINAL PETITION AND INITIAL DISCOVERY REQUESTS
                         IX. DAMAGES- ERIC WITHERSPOON

       The above-described negligence proximately caused the following damages to Plaintiff

Eric Witherspoon:

       A.     Past reasonable and necessary medical expenses;

       B.     Future reasonable and necessary medical expenses;

       C.     Past physical pain and mental anguish;

       D.     Future physical pain and mental anguish;

       E.     Past physical impairment;

       F.     Physical impairment in the future; and

       G.      Loss of earning capacity.

                         X. DAMAGES- ALICE WITHERSPOON

       The above-described negligence proximately caused the following damages to Plaintiff

Alice Witherspoon:

       A.     Loss of consortium; and

       B.     Loss of household services.

                               XI. EXEMPLARY DAMAGES

       Plaintiffs' injuries resulted from the gross negligence of Defendants Alvarez and

Pelletier. Defendant Alvarez was driving while intoxicated or otherwise impaired, and Pelletier

entrusted the vehicle to Alvarez despite knowledge or constructive knowledge of his impaired

state. Such gross negligence entitles Plaintiffs to exemplary damages under Texas Civil Practice

& Remedies Code section 41.003(a).




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                 PLAINTIFFS' ORIGINAL PETITION AND INITIAL DISCOVERY REQUESTS
                                XII. DISCOVERY REQUESTS

       Plaintiffs hereby attach to this petition, and incorporate therein by reference, the

following discovery requests:

       A.     REQUEST FOR DISCLOSURE TO EACH DEFENDANT - Each Defendant is
              hereby requested to disclose, within fifty (50) days of service of this petition and
              incorporated request, the information or material described in Rule 194.2(a)-(l) of
              the Texas Rules of Civil Procedure, to the undersigned counsel of record for
              Plaintiffs.

       B.     INTERROGATORIES TO DEFENDANT ALVAREZ - Defendant Alvarez is
              hereby requested to answer, separately, fully, in writing, and under oath, the
              Interrogatories attached hereto as "Exhibit A," and serve said answers within fifty
              (50) days of service of this petition and incorporated request, to the undersigned
              counsel of record for Plaintiff, pursuant to Rule 197 of the Texas Rules of Civil
              Procedure.

       C.     REQUEST FOR PRODUCTION TO DEFENDANT ALVAREZ- Defendant
              Alvarez is hereby requested to produce the documents or tangible items listed in
              the attachment hereto as "Exhibit B," within fifty (50) days of service of this
              petition and incorporated request, to the undersigned counsel of record for
              Plaintiff, pursuant to Rule 196 of the Texas Rules of Civil Procedure.

       D.     INTERROGATORIES TO DEFENDANT PELLETIER - Defendant Pelletier is
              hereby requested to answer, separately, fully, in writing, and under oath, the
              Interrogatories attached hereto as "Exhibit C," and serve said answers within frlly
              (50) days of service of this petition and incorporated request, to the undersigned
              counsel of record for Plaintiff, pursuant to Rule 197 of the Texas Rules of Civil
              Procedure.

       E.     REQUEST FOR PRODUCTION TO DEFENDANT PELLETIER - Defendant
              Pelletier is hereby requested to produce the documents or tangible items listed in
              the attachment hereto as "Exhibit D," within fifty (50) days of service of this
              petition and incorporated request, to the undersigned counsel of record for
              Plaintiff, pursuant to Rule 196 of the Texas Rules of Civil Procedure.

       F.     INTERROGATORIES TO DEFENDANT BOSSYTOE - Defendant Bossytoe is
              hereby requested to answer, separately, fully, in writing, and under oath, the
              Interrogatories attached hereto as "Exhibit E," and serve said answers within fifty
              (50) days of service of this petition and incorporated request, to the undersigned
              counsel of record for Plaintiff, pursuant to Rule 197 of the Texas Rules of Civil
              Procedure.




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                 PLAINTIFFS' ORIGINAL PETITION AND INITIAL DISCOVERY REQUESTS
       G.     REQUEST FOR PRODUCTION TO DEFENDANT BOSSYTOE - Defendant
              Bossytoe is hereby requested to produce the documents or tangible items listed in
              the attachment hereto as "Exhibit F," within fifty (50) days of service of this
              petition and incorporated request, to the undersigned counsel of record for
              Plaintiff, pursuant to Rule 196 of the Texas Rules of Civil Procedure.

                                XII. T.R.C.P. 193.7 NOTICE

       Plaintiffs hereby give actual notice to all parties herein that any and all documents

produced during discovery may be used by Plaintiffs against Defendant and/or any other party at

any pre-trial proceeding and/or trial of this matter without the necessity of authenticating the

document. This notice is given pursuant to Rule 193.7 of the Texas Rules of Civil Procedure.

                                        XIII. PRAYER

       WHEREFORE, PREMISES CONSIDERED, Plaintiffs pray that Defendants be cited to

appear and answer herein, and that upon final trial, Plaintiffs have and recover judgment against

Defendants as follows:

       A.     Actual damages in an amount within the jurisdictional limits of this Court;

       B.     Exemplary damages;

       C.     Pre-judgment interest at the maximum rate allowed by law;

       D.     Taxable costs of Court;

       E.     Post-judgment interest on all the above, compounded annually, at the maximum
              rate allowed by law; and,

       F.     Such other and further relief, at law or in equity, to which Plaintiffs may show
              themselves justly entitled.




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                 PLAINTIFFS' ORIGINAL PETITION AND INITIAL DISCOVERY REQUESTS
                                  Respectfully submitted,

                                  ROBSON LAW FIRM




                                  JEREMY R. THOMPSON
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                                  ATTORNEY FOR PLAINTIFFS
                                  ERIC WITHERSPOON
                                  Driver's License No.: 582
                                  Social Security No.: 129

                                  and ALICE WITHERSPOON
                                  Driver's License No.: 532
                                  Social Security No.: 923




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PLAINTIFFS' ORIGINAL PETITION AND INITIAL DISCOVERY REQUESTS
                                   "EXHIBIT A"

           PLAINTIFF'S FIRST SET OF INTERROGATORIES TO
                 DEFENDANT FERNANDO ALVAREZ


1.   Please identify yourself, to include all of the following: (a) Full legal name and any
     other names you have used; (b) Current driver's license number, including type, state
     of issuance, and restrictions, if any; (c) Address(es) for the past five (5) years, giving
     the street, street number, city, state, zip code, and foreign country, if applicable; (d)
     Date and place of birth; and (e) your Social Security Number.

2.   Identify each person answering these Interrogatories, supplying information, or
     assisting in any way with the preparation of the answers to these Interrogatories.

3.   State the name and address of the owner and all occupants (driver and passengers) of
     the vehicle which you were operating at the time of the collision. If the owner is not
     yourself, please state how the vehicle came to be in your possession in the occurrence
     made the basis of this lawsuit.

4.   Please state completely and fully how the occurrence made the basis of this lawsuit
     occurred, to include a description of the area in which the accident occurred, the
     weather conditions, visibility level, any obstructions or similar factors, the speed of
     your vehicle immediately prior to and at the time of the accident, the estimated speed
     of any other vehicle involved in the collision, where you were coming from and
     where you were traveling to at the time of the incident, everything you did to avoid
     the incident, and where you went immediately following the incident.

5.   If you are claiming that Plaintiff Eric Witherspoon was in any way contributorily or
     comparatively negligent with regard to the incident made the basis of this lawsuit,
     please state in what way(s) the Plaintiff was negligent.

6.   If you consumed any alcoholic beverage or any type of drug (whether prescription,
     non-prescription, over the counter, recreational, or illegal) in the twelve ( 12) hour
     period immediately preceding the accident, please state what was consumed, the time
     it was consumed, the quantity you consumed, the place where you consumed it, and
     identify by name, address, and telephone number any other person(s) present when
     you consumed it.

7.   Describe in detail any conversations you had with the Plaintiff or Plaintiffs
     representative following the collision, including but not limited to any statements
     made by Plaintiff that you believe to be an admission or declaration against interest.

8.   State whether you have entered into any type of indemnity agreement, settlement, or
     understanding with any person or entity relevant to Plaintiffs claims and/or injuries
     made the basis of this suit.


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           PLAINTIFFS' ORIGINAL PETITION AND INITIAL DISCOVERY REQUESTS
9.    If you have been involved in any way in any other automobile accidents, either prior
      to or subsequent to the one made the basis of this suit, please state when and where
      such accident took place, the general nature of such accident, and, if any claim or
      lawsuit arose from such accident, the identiJYing information for such claim or
      lawsuit, and the disposition of such claim or lawsuit.

10.   If you have ever been convicted of or pled to any felony whatsoever, or any
      misdemeanor involving moral turpitude, within the past 10 years please state the
      crime you were convicted of or pled to, the date and place of the offense, the case
      number and style of the proceeding, and the disposition I penalty in the case.

11.   For the last five years, list your traffic violation record, including but not limited to
      any citation, ticket, or warning received in connection with the accident made the
      basis of this lawsuit. With respect to any such citation or ticket received in connection
      with the accident made the basis of this lawsuit, please state the disposition, your
      exact plea, any amount(s) you paid in fees or fmes, and any other penalties assessed
      against you or corrective actions undertaken by you (i.e., jail time, community
      service, restitution, defensive driving course, etc.).

12.   Please state whether any actions were taken with regard to your driver's license
      subsequent to the occurrence made the basis of this lawsuit; if the answer is "yes,"
      describe what action(s) was/were taken, what was the result/disposition of the
      action(s), and what person, entity, or agency undertook the action(s).

13.   Did you have a cellular phone or other personal electronic device capable of wireless
      communication with you at the time this collision occurred? If so, please identify the
      type of device, the wireless service provider for the device, the account holder's name
      and address, the account number, and the phone number if applicable.

14.   Identify by name, address, and phone number each employer you have had during the
      five year period preceding the subject accident. As part of your response, please
      include your job title or job description for each employer listed.

15.   Please state if you were acting in the course and scope of any employment or errand
      for anyone at the time of this collision, and if so, please identify by name and address
      the person/entity on whose behalf you were performing such employment or errand.

16.   Please describe the reason why you were in Austin, Texas on the date of the accident.

17.   Please describe the nature of your relationships with Mindi Pelletier and Bossytoe
      Productions.

18.   If you contend that Plaintiff Eric Witherspoon was not injured to the extent claimed,
      please state the factual bases for your contention.

19.   If you contend that Plaintiff Eric Witherspoon's medical treatment, or any portion
      thereof, was not reasonable or necessary, please state the factual bases for your
      contention.

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            PLAINTIFFS' ORIGINAL PETITION AND INITIAL DISCOVERY REQUESTS
                                      "EXHIBIT B"

             PLAINTIFF'S FIRST REQUEST FOR PRODUCTION TO
                    DEFENDANT FERNANDO ALVAREZ


1.     Produce color copies of all photographs, slides, videotapes, audiotapes, charts or
       drawings that relate in any way to the subject matter of this lawsuit, including but not
       limited to photographs of the scene of the collision, vehicles involved in the collision,
       or persons involved in the collision.

2.    Produce a copy of your driver's license, front and back.

3.    Produce any and all insurance agreements or policies pertaining to the vehicle
      involved in the collision made the basis of this lawsuit that were in place at the time of
      the collision (to include any excess or umbrella policies).

4.    Produce copies of any witness statements, written or electronically transcribed, that are
      relevant to the collision in question that are not privileged by law.

5.    Produce any and all public documents relating to this incident in your possession,
      including but not limited to: police reports, witness reports, weather reports, criminal
      inquiries, and vehicle titles.                                          ·

6.    Produce any and all documents reflecting repairs or appraisals of any of the vehicles
      involved in the incident made the basis of this lawsuit.

7.    Produce any and all documents reflecting or relating to your answer to Interrogatory
      No. 5 of Plaintiff's First Set of Interrogatories (e.g., including but not limited to,
      accident reconstruction reports, diagrams, witness statements, etc.).

8.    Produce any and all documents reflecting or relating to your answer to Interrogatory
      No.6 of Plaintiff's First Set of Interrogatories (e.g., including but not limited to, store I
      bar receipts, medication prescriptions, etc.).

9.    Produce any and all documents reflecting or relating to your answer to Interrogatory
      No. 7 of Plaintiff's First Set of Interrogatories (e.g., including but not limited to,
      handwritten or typed notes, journals, recorded telephone calls, etc.).

10.   Produce any and all documents reflecting or relating to your answer to Interrogatory
      No. 8 of Plaintiff's First Set of Interrogatories (e.g., including but not limited to,
      settlement agreements, releases, "Mary Carter" agreements, etc.).

11.   Produce any and all documents reflecting or relating to your answer to Interrogatory
      No. 9 of Plaintiff's First Set of Interrogatories (e.g., including but not limited to,
      insurance carrier correspondence, vehicle damage documents, citation I moving
      violation documents or records, etc.).


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             PLAINTIFFS' ORIGINAL PETITION AND INITIAL DISCOVERY REQUESTS
12.   Produce any and all documents reflecting or relating to your answer to Interrogatory
      No. 10 of Plaintiffs First Set of Interrogatories (e.g., including but not limited to,
      arrest records, "mug shots," Court summons records, disposition documents, etc.).

13.   Produce any and all documents reflecting or relating to your answer to Interrogatory
      No. 11 of Plaintiffs First Set of Interrogatories (e.g., including but not limited to,
      citation I moving violation documents or records, municipal court summons, etc.).

14.   Produce any and all documents reflecting or relating to your answer to Interrogatory
      No. 12 of Plaintiff's First Set of Interrogatories (e.g., letters from any agency, records
      of any administrative or court proceedings, etc.).

15.   Produce any and all documents reflecting or relating to your answer to Interrogatory
      No. 13 of Plaintiffs First Set of Interrogatories (e.g., a copy of your cellular telephone
      monthly statement that includes a call log for all outgoing and incoming telephone
      calls and/or text messages for the date of this incident).

16.   Produce any and all documents reflecting or relating to your answer to Interrogatory
      No. 15 of Plaintiffs First Set of Interrogatories (e.g., any work orders, invoices,
      assigmnent sheets, or other such papers to establish for whom you were performing
      such job or errand, and what the job or errand was).

17.   Produce any and all forms, reports, or other documents you filled out in connection
      with this accident, whether such form or report was prepared by you or provided to
      you by, or for the benefit of, the investigating officer, any insurance company, your
      employer, the owner of the vehicle, any investigative agency or company, or any other
      third party (excluding any privileged documents prepared specifically by or for your
      attorney for purposes of this lawsuit).

18.   Produce copies of any depositions you intend to use in order to impeach any of
      Plaintiffs experts.

19.   Produce copies of any criminal convictions you intend to use in order to impeach
      Plaintiff or any witnesses.

20.   All records obtained from claims reporting services, including but not limited to the
      Southwest Index Bureau (SWIB), Choicepoint Consumer Center (CLUE), and ISO
      regarding the Plaintiff.                                                 ·

21.   All background or personal history reports regarding the Plaintiff, obtained from any
      source.

22.   Defendant's complete driving record for the 10 years preceding the incident made the
      basis of this suit, or an executed authorization allowing Plaintiff or his counsel to
      obtain such documents.


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             PLAINTIFFS' ORIGINAL PETITION AND INITIAL DISCOVERY REQUESTS
23.   Produce a full and a complete certified copy of all umbrella and/or excess and/or
      secondary liability insurance policies issued by any insurance company in which
      Defendant is a named insured and/or a covered person/entity or company that were in
      full force at the date and/or the time of the occurrence in question.

24.   In the event the claims upon which the lawsuit is based are being handled by any
      insurance carrier under a reservation of rights, please produce a full and complete copy
      of all communications to and from the carrier(s) concerning any and all such
      reservations.

25.   Full and complete copies of any and all documents and records concerning the
      Plaintiff that you have obtained by any method and from any source.

26.   Produce any and all medical records of Plaintiff (including records of treatment for
      any condition other than this accident case) you have obtained by any method and
      from any source.

27.   Full and complete copies of any and all medical bills concerning the Plaintiff ihat you
      have obtained by any method and from any source.

28.   Full and complete copies of any and all employment records and documents
      concerning the Plaintiff that you have obtained by any method and from any source.

29.   Produce full and complete copies of any and all depositions on written questions,
      including all attachments and exhibits, concerning any issue, party, witness, or
      potential witness in this case, that you obtained from any source.

30.   The Defendant's claim file(s) relative to the claim made the basis of this suit, prepared
      and compiled up to the date this suit was filed in this Court, including but not limited
      to all notes, records, entries, documents, memos, correspondence, photographs,
      videotapes, and written information contained therein.

31.   Produce any and all other documents or tangible items, not already produced above,
      which you plan to submit to the jury or other trier of fact in this case, and/or which you
      contend to be relevant to any issues ofliability, causation, or damages in this case.




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             PLAINTIFFS' ORIGINAL PETITION AND INITIAL DISCOVERY REQUESTS
                                    "EXHffiiT C"

           PLAINTIFF'S FIRST SET OF INTERROGATORIES TO
                   DEFENDANT MINDI PELLETIER


1.   Please identify yourself, to include all of the following: (a) Full legal name and any
     other names you have used; (b) Current driver's license number, including type, state
     of issuance, and restrictions, if any; (c) Address(es) for the past five (5) years, giving
     the street, street number, city, state, zip code, and foreign country, if applicable; (d)
     Date and place of birth; and (e) your Social Security Number.

2.   Identify each person answering these Interrogatories, supplying information, or
     assisting in any way with the preparation of the answers to these Interrogatories.

3.   State the name and address of the driver and all occupants of the vehicle involved in
     the subject collision.

4.   Please state completely and fully how the occurrence made the basis of this lawsuit
     occurred, to include a description of the area in which the accident occurred, the
     weather conditions, visibility level, any obstructions or similar factors, the speed of
     your vehicle immediately prior to and at the time of the accident, the estimated speed
     of any other vehicle involved in the collision, where you were coming from and
     where you were traveling to at the time of the incident, everything you did to avoid
     the incident, and where you went immediately following the incident.

5.   If you are claiming that Plaintiff Eric Witherspoon was in any way contributorily or
     comparatively negligent with regard to the incident made the basis of this lawsuit,
     please state in what way(s) the Plaintiff was negligent.

6.   Please state why you rented the vehicle involved in the subject accident, from whom
     you rented it, the date on which you took possession of the vehicle, and the date you
     returned the vehicle to the rental company.

7.   Describe in detail any conversations you had with the Plaintiff or Plaintiffs
     representative following the collision, including but not limited to any statements
     made by Plaintiff that you believe to be an admission or declaration against interest.

8.   State whether you have entered into any type of indemnity agreement, settlement, or
     understanding with any person or entity relevant to Plaintiffs claims and/or injuries
     made the basis of this suit.

9.   Please state how Fernando Alvarez came into possession of the vehicle involved in
     the subject accident, and for how long he possessed it prior to the subject accident.




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           PLAINTIFFS' ORIGINAL PETITION AND INITIAL DISCOVERY REQUESTS
10.   If you have ever been convicted of or pled to any felony whatsoever, or any
      misdemeanor involving moral turpitude, within the past ten (10) years (including as a
      result of the occurrence made the basis of this lawsuit), please state the crime you
      were convicted of or pled to, the date and place of the offense, the full case number
      and style of the proceeding against you, and the disposition I penalty in the case.

11.   What steps did you take to ensure that Fernando Alvarez was a competent driver
      before he began driving the subject vehicle?

12.   What steps did you take to ensure that Fernando Alvarez was not intoxicated or
      otherwise impaired before he took possession of the vehicle on the date of the subject
      accident?

13.   IdentifY by name, address, and phone number each employer you have had during the
      five year period preceding the subject accident. As part of your response, please
      include your job title or job description for each employer listed.

14.   Please state if you were acting in the course and scope of any employment or errand
      for anyone at the time of this collision, and if so, please identifY by name, address,
      and telephone number the person or entity on whose behalf you were performing such
      employment or errand.

15.   Please describe the reason why you were in Austin, Texas on the date of the accident.

16.   Please describe the nature of your relationships with Fernando Alvarez and Bossytoe
      Productions.

17.   If you contend that Plaintiff Eric Witherspoon was not injured to the extent claimed,
      please state the factual bases for your contention.

18.   If you contend that Plaintiff Eric Witherspoon's medical treatment, or any portion
      thereof, was not reasonable or necessary, please state the factual bases for your
      contention.




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            PLAINTIFFS" ORIGINAL PETITION AND INITIAL DISCOVERY REQUESTS
                                     "EXlllBIT D"

             PLAINTIFF'S FIRST REQUEST FOR PRODUCTION TO
                     DEFENDANT MINDI PELLETIER


1.    Produce color copies of all photographs, slides, videotapes, audiotapes, charts or
      drawings that relate in any way to the subject matter of this lawsuit, including but not
      limited to photographs of the scene of the collision, vehicles involved in the collision,
      or persons involved in the collision.

2.    Produce a copy of your driver's license, front and back.

3.    Produce any and all insurance agreements or policies pertaining to the vehicle
      involved in the collision made the basis of this lawsuit that were in place at the time of
      the collision (to include any excess or umbrella policies).

4.    Produce copies of any witness statements, written or electronically transcribed, that are
      relevant to the collision in question that are not privileged by law.

5.    Produce any and all public documents relating to this incident in your possession,
      including but not limited to: police reports, witness reports, weather reports, criminal
      inquiries, and vehicle titles.

6.    Produce any and all documents reflecting repairs or appraisals of any of the vehicles
      involved in the incident made the basis of this lawsuit.

7.    Produce any and all documents reflecting or relating to your answer to Interrogatory
      No. 5 of Plaintiff's First Set" of Interrogatories (e.g., including but not limited to,
      accident reconstruction reports, diagrams, witness statements, etc.).

8.    Produce any and all documents reflecting or relating to your answer to Interrogatory
      No. 6 of Plaintiff's First Set of Interrogatories.

9.    Produce any and all documents reflecting or relating to your answer to Interrogatory
      No. 7 of Plaintiff's First Set of Interrogatories (e.g., including but not limited to,
      handwritten or typed notes, journals, recorded telephone calls, etc.).

10.   Produce any and all documents reflecting or relating to your answer to Interrogatory
      No. 8 of Plaintiff's First Set of Interrogatories (e.g., including but not limited to,
      settlement agreements, releases, "Mary Carter" agreements, etc.).

11.   Produce any and all documents reflecting or relating to your answer to Interrogatory
      No. 10 of Plaintiff's First Set of Interrogatories (e.g., including but not limited to,
      arrest records, "mug shots," Court summons records, disposition documents, etc.).



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             PLAINTIFFS" ORIGINAL PETITION AND INITIAL DISCOVERY REQUESTS
12.   Produce any and all documents reflecting or relating to your answer to Interrogatory
      No. 14 of Plaintiff's First Set of Interrogatories (e.g., any work orders, invoices,
      assignment sheets, or other such papers to establish for whom you were performing
      such job or errand, and what the job or errand was).

13.   Produce any and all forms, reports, or other documents you filled out in connection
      with this accident, whether such form or report was prepared by you or provided to
      you by, or for the benefit of, the investigating officer, any insurance company, your
      employer, the owner of the vehicle, any investigative agency or company, or any other
      third party (excluding any privileged documents prepared specifically by or for your
      attorney for purposes of this lawsuit).

14.   Produce copies of any depositions you intend to use in order to impeach any of
      Plaintiff's experts.

15.   Produce copies of any criminal convictions you intend to use in order to impeach
      Plaintiff or any witnesses.

16.   All records obtained from claims reporting services, including but not limited to the
      Southwest Index Bureau (SWIB), Choicepoint Consumer Center (CLUE), and ISO
      regarding the Plaintiff.

17.   All background or personal history reports regarding the Plaintiff, obtained from any
      source.

18.   Produce a full and a complete certified copy of all umbrella and/or excess and/or
      secondary liability insurance policies issued by any insurance company in which
      Defendant is a named insured and/or a covered person/entity or company that were in
      full force at the date and/or the time of the occurrence in question.

19.   In the event the claims upon which the lawsuit is based are being handled by any
      insurance carrier under a reservation of rights, please produce a full and complete copy
      of all communications to and from the carrier(s) concerning any and all such
      reservations.

20.   Full and complete copies of any and all documents and records concerning the
      Plaintiff that you have obtained by any method and from any source.

21.   Produce any and all medical records of Plaintiff (including records of treatment for
      any condition other than this accident case) you have obtained by any method and
      from any source.

22.   Full and complete copies of any and all medical bills concerning the Plaintiff that you
      have obtained by any method and from any source.

23.   Full and complete copies of any and all employment records and documents
      concerning the Plaintiff that you have obtained by any method and from any source.


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             PLAINTIFFS' ORIGINAL PETITION AND INITIAL DISCOVERY REQUESTS
24.   Produce full and complete copies of any and all depositions on written questions,
      including all attachments and exhibits, concerning any issue, party, witness, or
      potential witness in this case, that you obtained from any source.

25.   The Defendant's claim file(s) relative to the claim made the basis of this suit, prepared
      and compiled up to the date this suit was filed in this Court, including but not limited
      to all notes, records, entries, documents, memos, correspondence, photographs,
      videotapes, and written information contained therein.

26.   Produce any and all other documents or tangible items, not already produced above,
      which you plan to submit to the jury or other trier of fact in this case, and/or which you
      contend to be relevant to any issues ofliability, causation, or damages in this case.




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             PLAINTIFFS' ORIGINAL PETITION AND INITIAL DISCOVERY REQUESTS
                                    "EXHIBIT E"

           PLAINTIFF'S FIRST SET OF INTERROGATORIES TO
              DEFENDANT BOSSYTOE PRODUCTIONS LLC


1.   Please identify each and every person who prepared or assisted in the preparation of
     your interrogatory responses. The response should include the name, address, phone
     number, employer, and job title of each person identified.

2.   Was Fernando Alvarez employed by you or any of your affiliate companies at the
     time of the subject accident? lf so, please identify his job title, job description, dates
     of employment, and reason(s) for termination of his employment if applicable. If he
     was not employed by you at the time of the subject accident, please explain how he
     came into possession of the vehicle he was driving at the time of the subject accident.

3.   Was Fernando Alvarez acting within the course and scope of any agency,
     employment or service at the time of the incident? lf so, state the full and proper
     name, address and telephone number of the principal employer. If not, please state the
     factual bases for your contention.

4.   Please specify each job or task Fernando Alvarez was assigned to perform on the date
     of the subject accident.

5.   Was Mindi Pelletier employed by you or any of your affiliate companies at the time
     of the subject accident? If so, please identify her job title, job description, dates of
     employment, and reason(s) for termination of her employment if applicable. If she
     was not employed by you at the time of the subject accident, please explain how she
     came into possession of the vehicle that was involved in the subject accident.

6.   Was Mindi Pelletier acting within the course and scope of any agency, employment
     or service at the time of the incident? If so, state the full and proper name, address
     and telephone number of the principal employer. If not, please state the factual bases
     for your contention.

7.   Please specify each job or task Mindi Pelletier was assigned to perform on the date of
     the subject accident.

8.   If you contend that Plaintiff Eric Witherspoon was not injured to the extent claimed,
     please state the factual bases for your contention.

9.   If you contend that Plaintiff Eric Witherspoon's medical treatment, or any portion
     thereof, was not reasonable or necessary, please state the factual bases for your
     contention.




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           PLAINTIFFS' ORIGINAL PETITION AND INITIAL DISCOVERY REQUESTS
10.   Describe in detail any conversations you, or anyone acting on your behalf, have had
      with the Plaintiff at any time following the subject accident.

11.   Please describe the nature of your relationships with Fernando Alvarez and Mindi
      Pelletier.




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           PLAINTIFFS' ORIGINAL PETITION AND INITIAL DISCOVERY REQUESTS
                                     "EXIDBIT F"

             PLAINTIFF'S FIRST REQUEST FOR PRODUCTION TO
                DEFENDANT BOSSYTOE PRODUCTIONS LLC

1.    Produce color copies of all photographs, slides, videotapes, audiotapes, charts or
      drawings that relate in any way to the subject matter of this lawsuit, including but not
      limited to photographs of the scene of the collision, vehicles involved in the collision,
      or persons involved in the collision.

2.    All statements, oral or written, previously made by Plaintiff concerning the subject
      matter of this lawsuit, including any written statements signed or otherwise adopted
      or approved by Plaintiff and any stenographic, mechanical, electrical, or other type of
      recording, and any transcription thereof.

3.    Produce any and all public documents relating to this incident in your possession,
      including but not limited to: police reports, witness reports, weather reports, criminal
      inquiries, and vehicle titles.

4.    Produce any and all documents reflecting repairs or appraisals of any of the vehicles
      involved in the incident made the basis of this lawsuit.

5.    All investigative or other reports that were generated by or on behalf of Defendant
      relating to the subject accident or the subject matter of this lawsuit.

6.    The claims files, written and electronic, of Defendant and Defendant's insurance
      carrier(s), including all documents contained therein, which were prepared prior to the
      date which Defendant subjectively and objectively anticipated litigation.

7.    Documents which establish the date on which Defendant and/or Defendant's insurance
      carrier(s) subjectively and objectively anticipated litigation.

8.    Produce the complete, unaltered personnel file/employment file of the vehicle operator
      involved in this incident including, but not limited to, all documents, memos, and
      notes reflecting dates of employment, salary history, time sheets, compensation,
      bonuses, benefits, attendance records, resumes, applications, references, reference
      checks, background checks, investigations, performance evaluations, employment
      agreements, documents relating to any termination of employment, reasons for
      termination, and all other documents relating in any way to the employment and job
      performance of said person.

9.    Produce any and all medical records of Plaintiff (including records of treatment for
      any condition other than this accident case) you have obtained by any method.

10.   Produce copies of any depositions you intend to use in order to impeach any of
      Plaintiffs experts.



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             PLAINTIFFS' ORIGINAL PETITION AND INITIAL DISCOVERY REQUESTS
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